Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page1of23

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

RONALD MUHAMMAD,
Plaintiff, THIRD AMENDED COMPLAINT
vs. Case No: 22-CV-6025-FPG-MJP

ANTHONY ANNUCCY et al,

Defendants.

COMES NOW, Plaintiff Chaplin RONALD MUHAMMAD), hereinafter
(“MUHAMMAD”) or (“the Plaintiff’), in and for himself pro se, promulgates his Third
Amended Complaint by leave of the Court pursuant to pursuant to Rule 15(a)(2) of the
Federal Rules of Civil Procedure, for the unlawful discrimination by the Defendant(s)
New York State Department of Corrections and Community Supervision, hereinafter (“the
Defendants”) or (““DOCCS”), in violation of the [Equal Protection Clause] of the
F ourteenth Amendment of the United States Constitution and [Employment Retaliation], in
violation of Title VII of the Civil Rights Act of 1964 and New York State Human Rights
Law (“NYSHRL”). This complaint shall supplant all previous complaints. Upon

information and belief, and at all times hereinafter, avers the following:

JURISDICTION AND VENUE
1. Ti is civil action is brought against DOCCS for their explicit violation of

Equal Protection Rights under the Fourth Amendment to the United States Constitution, 42
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 2 of 23

U.S.C. § 1983, as amended, and their egregious Employment Retaliation under 42 U.S.C. §
2000e, et seq. (“Title VII of the Civil Rights Act of 1964”), as amended, and the New York
State Human Rights Law (““NYSHRL”), § 290-297 and Executive Law § 296(7).

2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1343, and 42 U.S.C. § 2000e et seq.

3, The venue of this action is proper under 28 U.S.C. $1391.

4, MUHAMMAD is a resident of the County of Monroe in the State of New

York.

5, MUHAMMAD is an ordained Nation of Islam Chaplain and employee of

DOCCS.

6, These causes of action arose out of MUHAMMAD?’s employment with

DOCCS in his religious service duties for DOCCS’ inmates of the Muslim faith,

7, DOCCS is a New York State agency that employs in excess of fifteen (15)
employees and is an employer within the meaning of Title VI of the Civil Rights Act of

1964 and the New York State Human Rights Law (““NYHRL”).

8. MUHAMMAD timely filed his charge of discrimination on March 2, 2021,

with the New York State Division of Human Rights (“SDHR”).

9, The SDHR issued a Determination After Investigation on June 14, 2021,
finding probable cause that the Defendants collectively engaged in discrimination against
me in violation of the New York State Human Rights law.

10. MUHAMMAD has complied with all precedent conditions, and the instant
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page3of 23

action is brought against Defendants within all applicable time limits as stated under New
York and Federal law.

STATEMENT OF FACTS

11. On September 15, 2005, MUHAMMAD was hired by DOCCS as a Nation of
Islam Chaplain to provide religious services for Muslim inmates. He was initially assigned
to the Clinton Correction Facility.

12, In June of 2019, MUHAMMAD was assigned to the Five Points Correctional
Facility where the gravamen of the unlawful discrimination took place.

13, . MUHAMMAD, a Nation of Islam Chaplain for the Nation of Islam, suffered
adverse and disparate treatment when he was prevented on several occasions from bringing
his “Final Call Newspaper,” the official religious publication of the Nation of Islam, into
the Five Points Correctional Facility in his regular course of ministerial duties. He
contemporaneously observed on numerous occasions that other similarly situated ministers
did not experience the same disparate treatment of their materials for their religion.

14. The Defendants denied the claim and maintained that MUHAMMAD has a
history of bypassing Facility Media Review ("FMR"), which is purportedly required for all
publications coming into the facility. MUHAMMAD asserts that on several occasions
attempted to have FMR approve his publications, but his supervisor prevented him from
doing so.

15. Additionally, the Defendants engaged in this disparate practice without a

contemporaneous written policy, and forced “Muslim inmates to require having a

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page4of 23

subscription to his Final Call newspaper material, if they wish to access to publication other
than one copy that is kept in a locker for inmates to share,” These disparate actions,
standing alone, is a violation of his Equal Protection Rights under the Fourth Amendment
of the United States Constitution.

16. MUHAMMAD observed that inmates who are either Christian or Jewish
have full access to donated religious publications without having to share one copy
maintained in a locker. At the same time, MUHAMMAD is not permitted to bring donated
Final Call publications into the Five Points Correctional Facility.

17. Although the Defendants assert a legitimate business reason for promoting
order and safety as to why they maintain a media review policy, nevertheless, the Nation of
Islam's Final Call publication is being treated differently than the other religious
publications and other religious material is held to a different standard and is not being
treated similarly.

18, There are issues of material fact remaining, including but not limited to, the
Defendant’s disparate treatment of MUHAMMAD’s Muslim faith and religious practice,
treatment of his Nation of Islam religious publications, specifically, the Final Call
Newspaper, the Defendant’s disparate treatment of Final Call Newspapers concerning the
purported media review process.

19. Additionally, the Defendants arbitrarily required Muslim inmates to obtain a
paid subscription or otherwise share one copy retained in a designated facility locker when

the religious materials of other religious faiths were not subjected to the same

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page5of 23

discriminatory, arbitrary, and disparate treatment. They did do without any known
contemporaneous written policy.

20. Because MUHAMMAD opposed the Defendant’s disparate treatment of his
religious material for Muslim inmates, the Defendants suspended him from duty without
pay and is seeking the penalty of termination because of his opposition to their unlawful

discrimination,

ARGUMENT
Employment Retaliation Interfering with Judicial Proceeding
21. On August 8", 2024, upon the order of the court, this matter was referred to
the Magistrate Judge for, inter alia, discovery matters.
22. On October 4, 2024, the court rendered orders regarding our ongoing
production of records and admissions discovery process. (Doc, No’s. 72, 73.)
23. On or about October 15, 2024, the Defendants served MUHAMMAD their
NOTICE OF DISCIPLINE (“NOD”). Pursuant to their NOD, MUHAMMAD was

suspended from employment without pay and the Defendants are now seeking the penalty

of termination. See attached Defendant’s NOD and attachment.

24. The Defendant’s NOD alleges the following misconduct, which states

the following:

“DISMISSAL FROM SERVICE AND LOSS OF ANY ACCRUED ANNUAL LEAVE”
“The reason for this discipline is misconduct as follows:

1, On October 4, 2024, at approximately 4:00 p.m., while assigned to Five
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 6 of 23

Points Correctional Facility you were found to have introduced and/or
possessed contraband on facility grounds in violation of DOCCS
Employees' Manual §2.2, §2.16, §2.23, §2.30, and/or DOCCS Directive
#4936, Search of DOCCS Employees, Attachment A, Staff Allowable
Items. Specifically, Lieutenants Jeffrey Rorick and John Wade retrieved
approximately 267 unapproved copies of the "Final Call" newsletter that
belong to you from desk drawers and filing cabinets in the Chaplain area.

2. On or sometime prior to October 4, 2024, while assigned to Five Points
Correctional Facility you failed to follow proper protocol in violation of
DOCCS Employees' Manual §2,2, §2.16, §2.23, §2.30, and/or DOCCS
Directive #4936, Search of DOCCS Employees, Attachment A, Staff
Allowable Items. Specifically, you failed to apply for gates passes and
complete Form 3084, Record of Donations - Volunteer Services for 267
copie. of the "Final Call" newsletter."

3, On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you failed to exercise respectful
communication in the workplace, in violation of DOCCS Employees'
Manual §2.2, §2.23, and §2.7. Specifically, when Officer Donna Kobbe
advised you that she was going to conduct a frisk search you became
defiant and stated in sum or substance that "as an employee I am not
subject to frisk searches,"

4, On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you were found to introduce and or possess
contraband on facility grounds in violation of DOCCS Employees’
Manual §2.2, §2.16, §2.23, §2,30, and/or DOCCS Directive #4936, Search
of OOCCS Employees, Attachment A, Staff Allowable Items.
Specifically, when Officer Donna Kobbe conducted a fiisk search of your
perso 1 you were found to be in possession of 2 unapproved copies of the
"Final Call" newsletter.

5. On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you failed to follow proper protocol in
violation of DOCCS Employees’ Manual §2.2, §2.16, §2.23, §2.30, and/or
DOCCS Directive #4936, Search of OOCCS Employees, Attachment A,
Staff Allowable Items. Specifically, you failed to apply for gates passes

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page/7 of 23

and complete Form 3084, Record of Donations - Volunteer Services for 2
copies of the "Final Call” newsletter.”

25, Here, the Defendant’s contrived baseless disciplinary charges against
MUHAMMAD are undeniably analogous and related to his claims before this court
and currently ii. the discovery process.

26. MUHAMMAD avers that the Defendant’s retaliation is clearly intended to
unlawfully discourage him and other state employee witnesses from supporting his case
and pursuing judicial remedies. The Defendant’s deliberate retaliatory actions violate his
civil rights under 42 U.S.C. § 2000e, et seq. (“Title VII of the Civil Rights Act of 1964”), as
amended, and the New York State Human Rights Law (“NYSHRL”), § 290-297 and Executive
Law § 296(7).

27, . MUHAMMAD avers that their unambiguous timing of administrative charges
during this court’s discovery process is consistent with their history of ongoing pattern and
practice of abject employment discrimination.

28. MUHAMMAD avers that the Defendant’s unbridled illicit conduct to suspend
him without pay and seek termination of his employment for charges currently before this
court, standing alone, is substantial credible evidence of their animus and intent to interfere
with this court’s judicial administration and to “dissuade a reasonable worker” as witnesses
from supporting his employment discrimination cause of action. Burlington Northern &
Santa Fe Railway Co. v. White, 548 U.S. 53 (2006); NYS Division of Human Rights v. St.
Elizabeth's Hospital (1991),

29. MUHAMMAD avers that the overt causal connection between the
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 8of 23

Defendant’s gratuitous administrative charges and his protected activity in acquiring
production of records and admissions, is a blatant obstruction of justice offense by unduly
influencing, impeding, and otherwise interfering with the administration of justice in this
court proceeding. 18 U.S.C. § 1503 and § 1512, Fischer v. United States, (broadly to cover
coercive behavior that obstructs the administration of justice.); United States vy. Saget, (The
court held that the omnibus clause of § 1503 should be interpreted broadly to include any

conduct that interferes with the fair administration of justice.)

AS AND FOR A FIRST CAUSE OF ACTION
(Equal Protection Discrimination in Violation
the Fourteenth Amendment of the United Sates
Constitution, 42 U.S.C, § 1983)

30. Plaintiff repeats and realleges the allegations in paragraphs “1” through “29”
of the Complaint as if fully stated herein.

31. The Equal Protection Clause of the Fourteenth Amendment provides that no
“State [shall] deny to any person within its jurisdiction the equal protection of the laws.”
U.S. Const. amend. XIV, §1. It thus “requires the government to treat all similarly situated
people alike.” Afr. Trade & Info. Ctr, Inc. v. Abromaitis, 294 F.3d 355, 362 (2d Cir.
2002),

32, A. viable claim under the Equal Protection Clause requires the plaintiffs to
allege that they were treated differently as compared to similarly situated persons, based on
intentional or purposeful discrimination. Phillip v. Girdich, 408 F.3d 124, 129 (2d Cir.

2005), “Membership in a particular religious faith will generally satisfy the protected-class

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 PageQof 23

requirement” of an Equal Protection claim. Barnes v. Fedele, 760 F. Supp. 2d 296, 301
(W.D.N.Y. 2011) (citing Bizzarro v. Miranda, 394 F 3d 82, 86 (2d Cir. 2005).

33. Courts require “only that plaintiffs show that they are roughly equivalent to
the proffered comparators,” as opposed to an “extremely high level of similarity.” Hu v.
City of New York, 927 F.3d 81, 90 (2d Cir. 2019) (internal quotation marks omitted).
“While inmates enjoy no constitutional or legal right to receive religious materials at
government expense, the Equai Protection Clause of the Fourteenth Amendment prevents
Defendants from granting differential access to religious materials based on. . . faith.”
Thompson v. Renee, No. 21 Civ. 10371 (VEC), 2023 WL 2575222, at *8 (S.D.N.Y. Mar. 17,
2023) (internal quotation marks omitted).

34, The court reasoned that the Defendants addressed MUHAMMAD’s Equal
Protection claim only briefly, claiming that the second amended complaint is “devoid of
any allegation of purposeful discrimination,” and that Plaintiffs allegations “that other
faith groups were allowed to have access to their religious materials are far too
speculative” to satisfy the pleading requirements. ECF No, 45-2 at 21-22.

35, The court reasoned that “although Defendants’ policy ostensibly treats all
religious literature the same, however in practice, Nation of Islam materials are treated
differently with respect to media review, donations, and subscription requirements,” See
ECF No. 5 at 8. He alleges that “Christian ... and other faith groups can receive donated
materials delivered to Five Points on a regular basis,” whereas donated Nation of Islam

materials are not allowed. ECF No. 6, 8.
Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 10 of 23

36. The court reasoned that MUHAMMAD directly compares his treatment with
those of his “co-workers from different faiths,” who were permitted to distribute religious
literature without restriction, Id. at 8. Finally, MUHAMMAD alleges he was permitted to
keep only a single copy of Final Call in a locker, but that he witnessed other religious
publications being “scattered” in the facility in plain view. Id. These allegations are far
from speculative, but rather rely on specific instances of allegedly discriminatory behavior.
See ATSI Comme’ns, 493 F.3d at 98.

37, The court reasoned that the “Defendants may dispute the veracity of
Plaintiff's claims, but at this stage the Court is obliged to treat Plaintiffs allegations as
true. See Igba’, 556 U.S. at 678, Accordingly, the Court found that the Plaintiff has
plausibly alleged that Defendants’ restriction of Plaintiff's Nation of Islam materials
violates his Equal Protection rights ...”

38. To prove an Equal Protection discrimination case, a plaintiff generally needs
to demonstrate that they were treated differently from others similarly situated, and that
this disparate treatment was based on their membership in a protected class (e.g., race,
gender, national origin, religion).

39, Under both New York State Human Rights Law (NYSHRL) and the
Fourteenth Amendment, plaintiffs must typically show they belong to a protected class that
may include race, color, religion, national origin, sex, and more. Unlike disparate impact
cases (where a neutral policy has a discriminatory effect), Equal Protection claims

generally require proof of intentional discrimination as it may exist here.

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 11 of 23

40, This may include statements by decision-makers, statistical evidence of a
pattern of discrimination, similarly situated comparators or other indirect indicators (e.g.,
prior history of discriminatory practices).

41. MUHAMMAD avers that he was treated less favorably than other similarly
situated clergy ministers outside his protected class of Nation of Islam religion in
comparison to:

a) Deacon Thomas Ruda, Jewish, from the Five Points Correctional Facility.
b) Rabbi Thomas Max, Jewish, from the Marcy Correctional Facility.
c) Reverend Michael Henderson, Protestant, from the Five Points Correctional

Facility.

d) Imam Abdalla Hadian, Muslim of a different sect and favored by DOCCS, from the

Marcy Correctional Facility.
e) Reverend Ellis, Protestant, from the Marcy Correctional Facility.

42. These clergy ministers are individuals employed by DOCCS and who are
similarly situated to MUHAMMAD but are treated differently and more favorably under
similar circums‘ances regarding review and possession of their religious material.

43, Courts often scrutinize comparators to ensure they are truly similar in all
relevant respects. MUHAMMAD intends to call these individuals as witnesses to testify
under the penalty of perjury.

44. The Defendants may attempt to justify their actions based on a legitimate
government interest; however, MUHAMMAD may demonstrate that their justification is
pretextual and inadequate.

45, MUHAMMAD is indisputably suffering harm by DOCCS suspension from
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 12 of 23

duty without pay and move to terminate his employment as a causal connection to this
court’s judicial proreeding.

46. Even if no class-based discrimination is evident, MUHAMMAD can proceed
on a “class of one” theory, if he can show that he was singled out arbitrarily. Village of
Willowbrook v, Olech (528 U.S. 562, 2000).

47, As a direct result of Defendants’ discriminatory, unlawful, and illegal
employment practices and conduct, MUHAMMAD has suffered embarrassment and the
indignity of disparate treatment of discrimination.

48, As a direct result of Defendants’ discriminatory, unlawful, and illegal
employment practices and conduct, MUHAMMAD has suffered emotional and mental
anguish and disuress, loss of income and benefits, disruption of her personal life and loss of
the enjoyment of life.

49, As a direct result of Defendant’s discriminatory, unlawful, and illegal
employment practices and conduct, MUHAMMAD was unlawfully subjected to
discrimination, hostile work environment, suspended from duty without pay, and faces
termination in violation of Title VIL.

50. Defendants’ violation of the law has resulted in significant and consequential
damages in the past, present, and continuing into the future, including, but not limited to,
back and front pay, compensatory damages, punitive damages, and attorneys’ fees and

costs in prosecuting the instant action.

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 13 of 23

AS AND FOR A SECOND CAUSE OF ACTION
(Employment Retaliation Under Title VII of the
Civil Rights Act of 1964 and NYSHRL)

5i. Plaintiff repeats and realleges the allegations in paragraphs “1” through “50”
of the Complaint as if fully stated herein.

52. The Defendant’s baseless and gratuitous disciplinary charges against
MUHAMMAD are undeniably analogous to his claims before this court and currently
in the discovery process should be deemed unlawful retaliation.

53, The Defendant’s retaliation is clearly intended to unlawfully discourage him
and other state employee witnesses from supporting his case, intended to discourage
MUHAMMAD from pursuing judicial remedies and intended to interfere with the court’s
judicial progress. The Defendant’s deliberate retaliatory action violates MUHAMMAD’s
civil rights under 42 U.S.C. § 2000e, et seq. (“Title VII of the Civil Rights Act of 1964”), as

amended, and the New York State Human Rights Law (““NYSHRL”), § 290-297 and Executive
Law § 296(7).

54. The Defendant’s unambiguous timing of administrative charges during this
court’s discovery process is consistent with their history of ongoing pattern and practice of
abject employment discrimination.

55, The Defendant’s unbridled illicit conduct to suspend him without pay and
seek termination of his employment for charges currently before this court, is standing
alone, substantial credible evidence of their animus and intent to interfere with this court

and “dissuade a reasonable worker” as witnesses from supporting his employment

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 14 of 23

discrimination cause of action, Burlington Northern & Santa Fe Railway Co. v. White, 548
U.S. 53 (2006); NYS Division of Human Rights v. St. Elizabeth’s Hospital (1991).

56. The Defendant’s overt causal connection between their gratuitous
administrative charges and MUHAMMAD’s protected activity in acquiring production of
records and admissions, is a blatant attempt to unduly influencing, impeding, and otherwise
interfering with the administration of justice in this court proceeding. 18 U.S.C. § 1503 and
§ 1512, Fischer v. United States, (broadly to cover coercive behavior that obstructs the
administration of justice.); United States v. Saget, (The court held that the omnibus clause
of § 1503 should he interpreted broadly to include any conduct that interferes with the fair
administration of justice.)

57, In arecent key retaliation and discrimination court case Muldrow v. City of St.
Louis (2024), the U.S. Supreme Court revised its standard for what constitutes an “adverse
employment action” under Title VII of the Civil Rights Act. Previously, courts required
that a claimant demonstrate a “material” or “significant” disadvantage to show adverse
action, typically needing a change like reduced pay, benefits, or rank.

58. However, the Supreme Court clarified that plaintiffs now need to show only
“some disadvantage” impacting the terms or conditions of employment, not necessarily a
substantial one.

59. This shift affects cases of alleged retaliation when employees are transferred
or reassigned in ways that might affect their job satisfaction or responsibilities without

significantly impacting pay or status. This lower threshold broadens the types of
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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 15 of 23

employment changes that could support a discrimination or retaliation claim, potentially
allowing minor changes, such as altered job duties or shift assignments, to proceed under
Title VI if they are seen as disadvantageous.

60. This decision marks a significant shift, making it easier for employees to
bring forward cases when they experience less tangible but adverse changes in their work
environment, even if their pay or title remains unaffected. Accordingly, employers are now
subject to more weighty scrutiny under the revised Title VII standard.

61. Defendants discriminated against MUHAMMAD because of his Muslim faith
in violation of NYSHRL. As a direct result of Defendants’ discriminatory, unlawful, and
illegal employment practices and conduct, MUHAMMAD has suffered embarrassment and
the indignity of disparate treatment and discrimination.

62, As a direct result of Defendants’ discriminatory, unlawful, and illegal
employment practices and conduct, MUHAMMAD has suffered emotional and mental
anguish and distress, and loss of income and benefits.

63. Defendants’ violation of the law has resulted in significant and consequential
damages in the ast, present, and continuing into the future, including, but not limited to,
back and front pay, compensatory damages, punitive damages, and costs in prosecuting the
instant action.

64. Defendants discriminated against MUHAMMAD because of Muslim religion
in violation of NYSHRL.

65, Defendants failed to address, or stop, the discrimination which

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Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 16 of 23

MUHAMMAD was subjected to by the management of the Five Points Correctional
Facility.

66. MUHAMMAD complained to Defendants about the discrimination he was
subjected to during his employment.

67. Defendants retaliated against Plaintiff because of his Muslim religion by
suspending him from duty without pay and seeking termination in violation of NYSHRL.

68. As a direct result of Defendants’ retaliation, MUHAMMAD has suffered
embarrassment and the indignity of disparate treatment and discrimination.

69. As a direct result of Defendants’ retaliation, MUHAMMAD has suffered
emotional and mental anguish and distress, and loss of income and benefits.

70. Avs a irect result of Defendants’ retaliation, MUHAMMAD was unlawfully
suspending him from duty without pay and seeking termination in violation of NYSHRL.

71. Defendants’ violation of the law has resulted in significant and consequential
damages in the past, present, and continuing into the future, including, but not limited to,
back and front pay, compensatory damages, punitive damages, and costs in prosecuting the
instant action.

WHEREFORE, Plaintiff, RONALD MUHAMMAD, respectfully demands a
declaration that the unlawful acts and practices of Defendants were in violation of the laws
of the United States of America and State of New York, and that MUHAMMAD, a Muslim
Chaplain be granted a judgment for all damages properly recoverable under the law,
including, but x ot limited to, back pay, fringe benefits, front pay, compensatory damages,

liquidated damages, punitive damages, interest, and costs in prosecuting this action,
together with such other and further relief which to this Court may seem just and proper.

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page17 of 23

DATE: October 30, 2024
Rochester, New York

Respectfully submitted,

FOR THE PLAINTIFF
RONALD MUHAMMAD:

By: onal Whuitmmack

RONALD MUHAMMAD, Chaplin
817 Post Avenue

Rochester, New York 14619

Phone: (315) 575-627-0775

Email: ronald_muhammad@yahoo.com

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 30" day of October 2024, I did cause a true and
correct copy of the foregoing THIRD AMENDED COMPLAINT and attachments to be
filed with the Clerk of the Court and furnished by to the Defendant’s counsel of record

named. below by electronic mail:
By: Konak Whihmmak

RONALD MUHAMMAD, Chaplin

Letitia James

ATTORNEY GENERAL

Muditha Halliyadde

ASSISTANT ATTORNEY GENERAL
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Rochester Regional Office

144 Exchange Boulevard, Suite 200
Rochester, NY 14614

Phone: (585) 327-3216

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Counsel for ANTHONY ANNUCCL, et al,
Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 18 of 23

Exhibit B

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 19 of 23

, KATHY HOCHUL
NEW. | Department of Corrections Governor
stare | and Community Supervision _banzexr. MARTUSCELLO III

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NOTICE OF DISCIPLINE

TO: Ronald Muhammad, Chaplain
Five Points Correctional Facility

DATE: October 15, 2024

In accordance with the Disciplinary Procedure, Article 33 of the Agreement between the State
of New York and te Public Employees Federation for the Professional, Scientific and Technical
Services Unit, you are hereby informed that we shall implement the following:

DISMISSAL FROM SERVICE AND
LOSS OF ANY ACCRUED ANNUAL LEAVE

The reason for this discipline is misconduct as follows:

1. On October 4, 2024, at-approximately 4:00 p.m., while assigned to Five Points
Correctional Facility you were found to have introduced and/or possessed
contraband on facility grounds in violation of DOCCS Employees’ Manual §2.2,
§2.16, §2.23, §2.30, and/or DOCCS Directive #4936, Search of DOCCS
Employees, Attachment A, Staff Alowable Items. Specifically, Lieutenants
Jeffrey Rorick and John Wade retrieved approximately 267 unapproved copies
of the “Final-Call” newsletter that belong to you from desk drawers and filing
cabinets in the Chaplain area.

2. On or sometime prior to October 4, 2024, while assigned. to Five Points
Correctional Facility you failed to follow proper protocol in violation of DOCCS
Employees’ Manual §2.2, §2.16, §2.23, §2.30, and/or DOCCS Directive #4936,
Search of DOCCS Employees, Attachment A, Staff Allowable Items.
Specifically, you failed to apply for gates passes and complete Form 3084,
Record of Donations ~ Volunteer Services for 267 copies of the “Final Call”
newsletter.”

3. On October 11, 2024, at approximately 8:45 a.m., while on duty at Five Points
Correctional Facility you failed to exercise respectful cormmunication in the
workplace, in violation of DOCCS Employees’ Manual §2.2, §2.23, and §2.7.
Specifically, when Officer Donna Kobbe advised you that she was going to
conduct a frisk search you became defiant and stated in sum or substance that
“as an employee | am not subject to frisk searches.”

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doccs.ny.gov

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 20 of 23

Notice Of Discipline Page 2
Ronaid Muhammad, Chaplain
Five Points Correctional Facility October 15, 2024

4, On October 11, 2024, at approximately 8:45 a.m., while on duty at Five Points
Correctional Facility you were found to introduce and or possess contraband
on facility grounds in violation of DOCCS Employees’ Manual §2.2, §2.16,
§2.23, §2.30, and/or DOCCS Directive #4936, Search of DOCCS Employees,
Attachment A, Staff Allowable items. Specifically, when Officer Donna Kobbe
conducted a frisk search of your person you were found to be in possession of
2 unapproved copies of the “Final Call” newsletter.

5. On October 11, 2024, at approximately 8:45 a.m., while on duty at Five Points
Correctional Facility you failed to follow proper protocol in violation of DOCCS
Employees’ Manual §2.2, §2.16, §2.23, §2.30, and/or DOCCS Directive #4936,
Search of DOCCS Employees, Attachment A, Staff Allowable items.
Specifically, you failed to apply for gates passes and complete Form 3084,
Record of Donations — Volunteer Services for 2 copies of the “Final Cail’
newsletter.”

in assessing this penalty, we note that the prohibition of possessing unauthorized contraband --

while on facility property is well known to all employees, and the prohibition is continuously
reinforced through written communication including reminder signs posted at facility entrances.

The Department notes that policy regarding contraband was established in the interest of the~
Facility safety anc security. It-should be mentioned that bringing in this unapproved ‘newslettet ’-
has been an ongoing issue. You were counseled by Deputy Christina Hill on February 1, 2023,

and your misconduct was mentioned in your Performance Evaluation: for the time period of

September 15, 2019 through September 14, 2020. Your actions are unprofessional and: -
inconsistent with your duties as.a New York State Chaplain and brings into. question your

continued employment with this Department: .

As you are aware, you were suspended without pay effective October 11,-2024, pursuant tothe .

- Agreement between the State of New York and the Public Employees Federation, .

ff you wish to dispute the penalty, you may file a disciplinary grievance according to the
provisions of the Disciplinary Procedure. In that event, we recommend that you read the .

p ocedure, which is Article 33 of the Professional, Scientific and Technical Services Unit
Agreement (attached). Such a grievance must be filed with me postmarked no later than (14)
fourteen calendar days from the receipt of this notice. If no such grievance is filed, the penalty
will take effect at the close of the appeal period.

You are provided two (2) copies of this notice in order that one may be given to your
representative. Your union representative is the Public Employees Federation.

The Harriman State Carnpus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doccs.ny.gov

Case 6:22-cv-06025-MAV-MJP Document90_ Filed 11/05/24 Page 21 of 23

Notice Of Discipline Page 3
Ronald Muhammad, Chaplain
Five Points Correctional Facility October 15, 2024

Any further communication with you regarding this matter willbe mailed to you at your address
on record with Five Points Correctional Facility, which is 817 Post Ave., PO Box 926,
Rochester, New York 14679, unless you request in writing that it be mailed to a different
address. ,

Matthew Bloomingdale
Director of Labor Relations

Attachment
MB/SG/NR’

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doces.ny.gov

Case 6:22-cv-06025-MAV-MJP

hrotice Of Discipline
_ Konald Muhammad, Chaplain
Five Points Correctional Facility

Document 90 Filed 11/05/24 Page 22 of 23

Page 4

October 15, 2024

ATTACHMENT # 4

Confiscated on October 4, 2024, Search of Office

2019 - Total Issues = 1
October 22, 2019 - Volurre 39 #2 (1 issue)

. £020 - Total Issues = 5
February 4, 2020 - Volume 39 #17 (1 issue)
March 3, 2020 - Volume 39 #21 (1 issue}
March 7, 2020 -Volume 39 #23 (1 issue)
March 24, 2020 - Volume 39 #24 (1 issue)
April 2, 2020 - Volume 39 #26 (1 issue)

2622 - Total Issues = 74 :
February 1, 2022 - Volume 41 #17 (8 issues)
rarch 22, 2022- Volume 41 #24 (12 issues)

4 ugust 22, 2022 - Volume 41 #43 (2 issues)
September 12, 2023 -Volume 42 #48 (1 issue)
September 22, 2022 - Volume 41 #51 (11 issue)
October 25, 2022 - Volume 42 #3 (12 issues)
November 22, 2022 - Volume 42 #7 (14 issues)
November 29, 2022 - Volume 42 #8 (13 issues)
November 15, 2022 - Volume 42 #6 (1 issue)

2023 - Total Issues = 74

January 10, 2023 - Volume 42 #14 (2 Issues)
January 21, 2023 - Volume 42 #17 (1 issue)
vanuary 24, 2023 - Volume 42 #16 (5 issues)
April 25, 2023 - Volume 42 #29 (3 issues)

May 9, 2023 - Volume 42 #31 (14 issues)

May 16, 2023- Volume 42 #32 (16 issues)
June 27, 2023 - Volume 42 #37 (3 issues)
September 5, 2023 -Volume 42 #47 (7 issues)
September 12, 2023 - Volume 42 #48 (4 issues)
October 10, 2023-Voilume 43, #1 (1 issue)
October 3, 2023 - Volume 42 #51 (1 issue)
November 7, 2023- Volume 43 #5 (7 issues)
hovember 28, 2023 - Volume 43 #8 (2 issue)

L acember 5, 2023- Volume 43 #9 (3 issues)
December 19, 2023 - Volume 43 #11 (5 issues)

2024 - Total issues = 98

January 2, 2024 - Volume 43 #13 (10 issues)
January 9, 2024 - Volume 43 #74 (8 issues)
January 23, 2024 - Volurne 43 #16 (5 issues)
February 13, 2024 - Volume 43 #19 (3 issues}
February.20, 2024 - Voiume 43 #20 (5 issues}
March 12, 2024 - Volume 43 #23 (2 Issues)
June 3, 2024 ~ Volume 42 #35 (9 issues)

June 17, 2024- Volume 43 #37 (3 issue)

duly 1, 2024 - Volume 43 #39 (15 issues)

July 22, 2024 - Volume 43 #42 (4 issues)
August 5, 2024 - Volume 43 #44 (3 issues)
August 19, 2024-Volume 43 #46 (1 issue) -
August 26, 2024, Volume 43 #47 (2 Issue) -
September 9, 2024 - Volume 43 #49 (11 issues)
September 16, 2024 - Volume 43 #50 (6 issue)
September 23, 2024 -Volume 43 #51 (12 issues)

Miscellaneous Parts = 15
October 2,1988 Volume 7 #18
February 18, 2020

March 23, 2021

April 6, 2021

May 18, 2024

May 18, 2021

August 2, 2022

August 8, 2022

August 16, 2022

October 4, 2022
November 29, 2022
February 21, 2023

March 7, 2023

November 7, 2023

July 15, 2024

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Case 6:22-cv-06025-MAV-MJP Document90 _ Filed 11/05/24 Page 23 of 23
Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK:

" I’ A | of Mut ann“ cl

Plaintiff(s), CERTIFICATE OF SERVICE
22 -cy. 6675

EL perttony Li, VYIUC CY OF Gl

Defendant(s).

I, (print your name) Kou Al df U Uh amin A ef , served a copy of the attached papers
(state_the-name ,of your papers) . __f
[hued Horn de oI Coa OT

upon all other patties inthis case _,

t
by mailing | ler by hand-delivering| (ils f ey | (check the method you
used)
these documents to the following persons (Jist the names and addresses of the people you
served) 4 .

Ropy (a oie

A abn Cy (-e It Cin doce.

V av of Me. bef Len

on (date service was made) Hf (s l Ze

I declare under penalty of perjury that the for egoing is true and correct, to the best of my
knowledge, information and belief.

Executed on _\/ [3 ley L a7
(date) _ (your signature)

